         Case 2:16-cv-05772-GJP Document 22 Filed 05/15/17 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ABRAHAM ITUAH,

                        Plaintiff,
                                                                CIVIL ACTION
             v.                                                 NO. 16-05772


CITY OF PHILADELPHIA, et al.

                        Defendants.


                                            ORDER

       AND NOW, this 15th day of May, 2017, upon consideration of Defendants’

motions to dismiss, (ECF Nos. 6 & 12), and Plaintiff Ituah’s responses, (ECF Nos. 15 &

19), it is hereby ORDERED that:

    1. Defendants’ motions to dismiss, (ECF Nos. 6 & 12), are GRANTED;

    2. Ituah’s claims are DISMISSED;4

    3. This case shall be CLOSED for statistical purposes.




                                                             BY THE COURT:



                                                             /s/ Gerald J. Pappert
                                                             GERALD J. PAPPERT, J.




4       To the extent Ituah’s claims are barred by Rooker-Feldman, the Court dismisses them
without prejudice for lack of subject matter jurisdiction. However, the Court dismisses with
prejudice those claims that do not implicate Rooker-Feldman but are nonetheless barred by res
judicata.
